IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA, INDICTMENT
Plaintiff,
Criminal No. 21-@7 (GAG
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Violations:
[1] ANTHONY STEVEN LOBOS RUIZ, 18 U.S.C. § 371
(Counts One through Three) 18 U.S.C. § 249(a)(2)
[2] JORDANY RAFAEL LABOY GARCIA, 18 U.S.C. § 1519

(Counts One and Two)
[3] CHRISTIAN YAMAURIE RIVERA OTERO, (THREE COUNTS)

(Counts One through Three)
Defendants.

 

 

 

 

THE GRAND JURY CHARGES:

COUNT ONE
(Conspiracy to Commit Hate Crime Act)

At all times relevant to this Indictment:

Introduction
i. A.N.L. was a 29-year-old transgender female living in Toa Baja, Puerto Rico.
2. A transgender person is one whose gender identity and expression are different

from the sex the person was assigned at birth.

3. A transgender female is a person who was assigned male at birth but whose

gender identity is female.

 
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Manner and Means of the Conspiracy

4. It was part of the conspiracy that defendants specifically selected A.N.L. as the
target of their assault because of her actual and perceived gender identity.

5. It was further part of the conspiracy that the co-conspirators used a car to travel
to multiple locations to get a paintball gun and paintballs to shoot and cause injury to A.N.L.

6. It was further part of the conspiracy that the co-conspirators used a cellular
telephone to record the harassment and assault of A.N.L.

Overt Acts

7. To advance the conspiracy and to achieve its aims, defendants, along with
others known and unknown to the grand jury, committed various overt acts, within the District
of Puerto Rico, including, but not limited to the following:

a. On or about February 24, 2020, a member of the conspiracy drove a car,
occupied by the other co-conspirators.

b. While traveling in the car, at least one member of the conspiracy identified
A.N.L. on the side of the road in Toa Baja, Puerto Rico. The conspirators recognized A.N.L.
from social media posts previously identifying her as a man who entered the women’s
restroom at a local restaurant; at least one of the posts included a photo of A.N.L. in the local
restaurant wearing women’s clothing.

C. After identifying her, at least one member of the conspiracy shouted threatening
and derogatory comments at A.N.L. from the window of the car, including yelling the phrase
“la loca.”

d. After verbally harassing A.N.L., the conspirators left the area where A.N.L. was
located and drove to get a paintball gun and paintballs to be used to shoot at A.N.L.

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e. After retrieving the paintball gun and paintballs, the conspirators drove back to
the same place they spotted A.N.L. and fired paintballs at her.

f. During both encounters with A.N.L., at least one of the conspirators recorded
the encounter with A.N.L. on a cellular telephone.

g. At least one conspirator used his cellular telephone to send at least one of the
videos to one or more persons.

The Charge

8. On or about February 24, 2020, in the District of Puerto Rico, and within the

jurisdiction of this Court,
[1] ANTHONY STEVEN LOBOS RUIZ,
[2] JORDANY RAFAEL LABOY GARCIA,
[3] CHRISTIAN YAMAURIE RIVERA OTERO,

the defendants herein, knowingly and willfully combined, conspired, and agreed with each
other, and with others known and unknown to the grand jury, to willfully cause bodily injury
to, and through the use of a dangerous weapon attempt to cause bodily injury to, A.N.L.
because of her actual and perceived gender identity.

All in violation of 18 U.S.C. § 371.
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COUNT TWO
(Hate Crimes Prevention Act)

1, Paragraphs Four through Six of Count One of this Indictment are realleged and
incorporated by reference as though set forth fully herein.

2. On or about February 24, 2020, in the District of Puerto Rico, and within the
jurisdiction of this Court,

[1] ANTHONY STEVEN LOBOS RUIZ,
[2] JORDANY RAFAEL LABOY GARCIA,
[3] CHRISTIAN YAMAURIE RIVERA OTERO,

the defendants herein, aiding and abetting each other, and others known and unknown to the
grand jury, did willfully cause bodily injury to A.N.L., and through the use of a dangerous
weapon, did attempt to cause bodily injury to A.N.L. because of A.N.L.’s actual and perceived
gender identity; and, in connection with the offense, the defendants employed a dangerous
weapon that traveled in interstate and foreign commerce, to wit: a paintball gun; and, in
connection with the offense, the defendants used an instrumentality of interstate and foreign
commerce, to wit: a Mazda Protégé.

All in violation of 18 U.S.C. §§ 249(a)(2) and 2.
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COUNT THREE
(Obstruction of Justice)

On or about February 24, 2020, in the District of Puerto Rico, and within the jurisdiction

of this court,
[1] ANTHONY STEVEN LOBOS RUIZ,
[3] CHRISTIAN YAMAURIE RIVERA OTERO,

the defendants, aiding and abetting each other, and others known and unknown to the grand
jury, and acting in relation to and in contemplation of a matter within the jurisdiction of the
Federal Bureau of Investigation, an agency of the United States, did knowingly alter, destroy,
mutilate, conceal, and cover up a tangible object with the intent to impede, obstruct, and
influence the investigation and proper administration of that matter. That is, defendant [3]
CHRISTIAN YAMAURIE RIVERA OTERO did direct defendant [1] ANTHONY
STEVEN LOBOS RUIZ to delete at least one video recording of the paintball gun assault and
verbal harassment of A.N.L. from his cellular telephone, and defendant [1] ANTHONY
STEVEN LOBOS RUIZ did in fact delete at least one video recording of the paintball gun
assault and verbal harassment of A.N.L. from his cellular telephone after receiving the request
from defendant [3] CHRISTIAN YAMAURIE RIVERA OTERO.

All in violation of 18 U.S.C. §§ 1519 and 2.
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